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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION



VLSI TECHNOLOGY LLC,
                Plaintiff,
                                                      Lead Case: No. 1:19-cv-977-ADA

           v.                                         (Consolidated with No. 6:19-cv-255-
                                                      ADA and No. 6:19-cv-256-ADA)

                                                      JURY TRIAL DEMANDED
INTEL CORPORATION,
                Defendant.




                             First Amended Agreed Scheduling Order


   Agreed Dates         Amended
                         Dates                                 Item

September 20,                         Defendant serves preliminary invalidity contentions in
2019                                  the form of (1) a chart setting forth where in the prior
                                      art references each element of the asserted claim(s) are
                                      found, (2) an identification of any limitations the
                                      Defendant contends are indefinite or lack written
                                      description under section 112, and (3) an identification
                                      of any claims the Defendant contends are directed to
                                      ineligible subject matter under section 101. Defendant
                                      shall also produce (1) all prior art referenced in the
                                      invalidity contentions, (2) technical documents,
                                      including software where applicable, sufficient to show
                                      the operation of the accused product(s), and (3)
                                      summary, annual sales information for the accused
                                      product(s) for the prior two years, unless the parties
                                      agree to some other timeframe.

October 1, 2019 at                    Parties exchange claim terms for construction and
12pm CT                               proposed constructions




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    Agreed Dates                 Amended
                                  Dates                               Item

October 16, 2019                            Parties exchange proposed claim constructions for
                                            claim terms proposed by the other party

October 21, 2019                            Deadline to meet and confer to narrow terms in dispute
                                            and exchange revised list of terms/constructions

October 30, 2019                            Parties file Opening claim construction briefs, including
                                            any arguments that any claim terms are indefinite.

November 18,                                Parties file Responsive claim construction briefs.
2019

December 2, 2019                            Parties file Reply claim construction briefs.

December 5, 2019                            Parties submit Joint Claim Construction Statement,
                                            optional tutorials, and consolidated briefing collated by
                                            Opening, Response, and Reply.

December 12,                                Markman Hearing at 9:00 a.m.
2019

December 13,                                Fact Discovery opens; deadline to serve Initial
2019                                        Disclosures per Rule 26(a).

January 17, 2020                            Deadline to add parties

January 31, 2020                            Deadline to serve Final Infringement and Invalidity
                                            Contentions.

February 28, 2020                March 6,   Deadline to amend pleadings. A motion is not required
                                 2020       unless the amendment adds patents or claims.

March 11, 2020                              Deadline to serve parties’ Requests for Production
                                            without leave from Court

May 22, 2020                                Close of Fact Discovery

May 29, 2020                                Opening Expert Reports

June 26, 2020                               Rebuttal Expert Reports

July 17, 2020                               Close of Expert Discovery

July 24, 2020                               Deadline to meet and confer to discuss narrowing the
                                            number of claims asserted and prior art references at
                                            issue. The parties shall file a report within 5 business
                                            days regarding the results of the meet and confer.


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    Agreed Dates                 Amended
                                  Dates                                Item

 July 31, 2020                             Dispositive motion deadline and Daubert motion
                                           deadline.

 August 14, 2020                           Serve Pretrial Disclosures (jury instructions, exhibits
                                           lists, witness lists, designations)

 August 28, 2020                           Serve objections to pretrial disclosures/rebuttal
                                           disclosures

 September 4, 2020                         Serve objections to rebuttal disclosures and File
                                           Motions in limine

 September 11,                             File Joint Pretrial Order and Pretrial Submissions (jury
 2020                                      instructions, exhibits lists, witness lists, designations);
                                           file oppositions to motions in limine

 September 18,                             Deadline to meet and confer regarding remaining
 2020                                      objections and disputes on motions in limine

 September 29,                             File joint notice identifying remaining objections to
 2020                                      pretrial disclosures and disputes on motions in limine

 October 2, 2020                           Final Pretrial Conference

 October 5, 2020                           Anticipated Start of Jury Selection/Trial(s)


            28th
SIGNED this _____________         February
                          day of ______________, 2020.



                                             _______________________________________
                                             ALAN D. ALBRIGHT
                                             UNITED STATES DISTRICT JUDGE




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